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In the Anited States wll of Federal Clauns

No. 17-901C

 

(Filed: April 6, 2018)

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of
TODD S$. GLASSEY and :
MICHAEL E. MCNEIL, : FILED
*
Plaintiffs, : APR ~ 6 2016
* U.S. COURT OF
FEDERAL CLAIMS
Vv. *
*
*
THE UNITED STATES, ,
*
Defendant. *
*
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DISMISSAL FOR FAILURE TO PROSECUTE

The Court, by its own motion, dismisses Messrs. Glassey and MecNeil’s
(“Plaintiffs”) complaint for failure to prosecute under Rule 41(b) of the Court of Federal
Claims (“RCFC”). On October 31, 2017, the Government filed a motion to dismiss Plaintiffs’
complaint. After receiving an enlargement of time to file its response to the Government’s
motion and attempting to file an amended complaint as a response, Plaintiffs still did not file
a response in accordance with their January 24, 2018 deadline. On January 30, 2018, the Court
issued an order requiring Plaintiffs to file a response to the Government’s motion to dismiss
on or before February 20, 2018. Dkt. No. 24, After Plaintiffs again failed to file a response to
the Government’s motion, the Court issued an order directing Plaintiffs to respond to the
Government’s motion, including a statement explaining why the Court should not dismiss
Plaintiffs’ complaint for failure to prosecute by March 21, 2018. Dkt. No. 26. In its order,
the Court warned Plaintiffs that failure to comply with the Court’s order would result in
dismissal of the complaint. Id. Plaintiffs did not file a response by March 21, 2017 and

still have not filed a response.

RCFC 41(b) provides that “[i]f the plaintiff fails to prosecute or comply with these
rules or a court order, the court may dismiss on its own motion or the defendant may move

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to dismiss the action or any claim against it.” Rule 41(b) is a necessary tool to ensure
efficient docket management and prevent undue delays in litigation. Link v, Wabash R.R.
Co., 370 U.S. 626, 629-30 (1962). “While dismissal of a claim is a harsh action, especially
to a pro se litigant, it is justified when a party fails to pursue litigation diligently and
disregards the court’s rules and show cause order.” Whiting v. United States, 99 Fed. Cl.
13, 17 (2011) (citing Kadin Corp. v. United States, 782 F.2d 175, 176-77 (Fed. Cir. 1986)),
Here, Plaintiffs failed to respond to the Government’s motion to dismiss and to the Court’s
show cause order. Dismissal is therefore not only appropriate, but required to maintain
judicial efficiency and conserve court resources.

Accordingly, this case is DISMISSED, without prejudice, for failure to prosecute in
accordance with Rule 41(b), and all pending motions are dismissed as moot. The Clerk is

directed to enter judgment for the Government.

THOMAS C. WHEELER
Judge

IT IS SO ORDERED.

 

 
